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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
 !
 UNITED STATES OF AMERICA,
 !
          Plaintiff,
     !
 -vs-                                          Case No. 15-cr-20652
                                               HON. GEORGE CARAM STEEH
 !
 (D-13) ARLANDIS SHY, II,
 !
           Defendant.
 __________________________________________________________________
 !
 !
   DEFENDANT SHY’S MOTION IN LIMINE TO PRECLUDE EVIDENCE
 !
        Defendant moves this Honorable Court, under Fed. R. Crim. P. 16(d)(2)(C),

 to preclude alleged Facebook evidence that the government prejudicially and

 incompletely disclosed late before trial in violation of Defendant’s rights to

 Counsel, preparation of a defense, Confrontation, and Due Process and Fair Trial

 under the Fifth, Sixth, and Fourteenth Amendments to the US Constitution.

                                        Respectfully submitted,
 Date: May 25, 2018
                                        By: s/Mark H. Magidson
                                        MARK H. MAGIDSON (P25581)
                                        Attorney for Defendant Shy (D-13)
                                        815 Griswold, Suite 810
                                        Detroit, MI 48226
                                        313-963-4311; 313-995-9146 fax
                                        mmag100@aol.com
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                      BRIEF IN SUPPORT OF
     DEFENDANT SHY’S MOTION IN LIMINE TO PRECLUDE EVIDENCE
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                                      FACTS
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        Defendant is charged in the Fifth Superseding Indictment (Doc. 704) with

 Count 1, RICO Conspiracy; Count 16, Murder in Aid of Racketeering; Count 17,

 Use of Firearm in Furtherance of a Crime of Violence Causing Death; Counts

 18-20, Attempted Murder in Aid of Racketeering; Count 21-23, Assault with a

 Dangerous Weapon in Aid of Racketeering; Count 24, Use and Carry of a Firearm

 During, and in Relation to, a Crime of Violence; and Count 32, Possession of a

 Firearm in Furtherance of a Crime of Violence.

        This is a complex mega case involving six defendants in Trial Group 2.

        Defendant joined a motion compelling the government to produce discovery.

 (Joinder Notice, Doc. 281). The government has produced voluminous discovery

 that defense counsel and second counsel have spent months reviewing. Part of that

 discovery included thousands of pages of Facebook entries for the co-defendants,

 but not for Defendant Shy. The defense has had access to the co-defendants’

 voluminous Facebook discovery for nearly a year.




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       On May 18, 2018, the government disclosed a six thousand page discovery

 document that allegedly shows the warrant returns for Defendant Shy’s Facebook

 account. This discovery is not Jencks Act material.

       After reviewing a few hundred pages of that discovery, defense counsel sent

 an email to the Assistant US Attorney on May 19, 2018, requesting identification

 the relevant entries that the government would use at trial. The Assistant US

 Attorney sent a reply email the next day stating that he would provide that

 identification within a day.

       Later, on May 22, 2018, the Assistant US Attorney Chris Graveline indicated

 to defense counsel that the discovery of Defendant Shy’s alleged Facebook account

 contained very incriminating evidence against Defendant, which amounted to a

 confession.

       The government has not provided that identifying discovery by the time of

 filing this motion.

       It will be fundamentally unfair to require Defendant to review and confront

 the lately disclosed, six thousand pages of allegedly incriminating Facebook

 discovery before trial. Defendant cannot challenge the credibility of the evidence,

 develop a defense, alibi, cross examine, or consider any other trial strategies

 regarding this evidence.

       Defendant Shy has been incarcerated without bond since March 2, 2016.

 Defendant has opposed prior continuances of his trial, and he opposed the

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 government’s most recent motions for another continuance. (Order, Doc. 1021,

 Page ID 9569, 9571-72). Defendant refuses to waive his Speedy Trial Rights.

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                                    ARGUMENT
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       Defendant joined a motion compelling the government to produce discovery.

 (Joinder Notice, Doc. 281).

       The government has a duty to produce and disclose the substance of any

 oral, written, or recorded statements of a defendant. Fed. R. Crim. P. 16(a)(1)(A)-

 (B). The evidence at issue in this motion is not Jencks Act material because it

 involves Defendant’s own alleged Facebook account and statements, postings, or

 photographs attributed to him.

       In this case, although the government complied with discovery Rule 16 for

 the co-defendants, the government failed to timely and fully disclose the same type

 of evidence to Defendant Shy.

       The government’s earlier and full disclosure of the alleged Facebook

 evidence against Defendant Shy was necessary to protect his rights to Counsel,

 preparation of a defense, Confrontation, and Due Process and Fair Trial under the

 Fifth, Sixth, and Fourteenth Amendments to the US Constitution.

       Defense counsel has been unable to consult Defendant about possible pleas

 or preparation for trial without being able to adequately review the alleged


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 Facebook evidence. The defense is also unable to determine if there are additional

 grounds to suppress this evidence based on the Fourth Amendment or other

 grounds. It is also unclear what charges in the Indictment are related to the

 allegedly incriminating Facebook evidence.

       Based on the government’s late, incomplete, and prejudicial disclosure of

 mandatory discovery, this Court has the authority to prohibit introduction of its

 Facebook evidence. Fed. R. Crim. P. 16(d)(2)(C); United States v. White, 492 F.3d

 380, 405 (6th Cir. 2007).

       In exercising this discretion, the court should consider the reasons for the

 government's delay, the prejudice to the defendant, whether a less severe sanction

 is appropriate, and any other relevant circumstances. See United States v. Ganier,

 468 F.3d 920, 927 (6th Cir. 2006).

       The government has not explained its reason for the significant, late and

 incomplete disclosure of the Facebook material. The government should have

 known at the time of its earlier disclosures to the co-defendants that disclosure was

 necessary to Defendant Shy, too.

       Prejudice to Defendant from the late disclosure—about two weeks before

 trial—is significant. This is the “11th hour.” United States v. Collins, 799 F.3d 554,

 573 (6th Cir.), cert. denied, 136 S. Ct. 601, 193 L. Ed. 2d 480 (2015). There is not

 enough time to review the six thousand pages of evidence and determine how to

 confront it. This is particularly true because the Assistant US Attorney indicated

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 that the six thousand pages of Facebook entries contain incriminating evidence that

 is the equivalent of a confession.

       A less severe sanction or continuance, is inappropriate in this case.

 This Court has already decided that an additional continuance—as requested by the

 government and beyond the two weeks granted after jury selection—would be an

 inappropriate violation of the defendants’ speedy trial rights and unnecessary.

 (Order, Doc. 1021, Page ID 9570-72).

       A continuance would allow the government to violate the speedy trial right

 by untimely disclosing evidence. See Speedy Trial Act Time Limits and

 Exclusions, 18 U.S.C. § 3161(h)(7)(C) (stating that delays due to "lack of diligent

 preparation" by the government are not excludable from Speedy Trial Act

 calculations).

       The Sixth Circuit upheld a district court’s decision to exclude a defendant’s

 expert testimony because the defendant failed to comply with the discovery rule

 requirement for a written summary. United States v. Pittman, 816 F.3d 419, 425

 (6th Cir. 2016). The court in Pittman concluded that it could not admit the expert

 testimony without allowing further delays and giving the government additional

 time to prepare a rebuttal witness. Id.

       The same considerations require preclusion in this case.

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       WHEREFORE, Defendant moves this Honorable Court to preclude the

 government’s Facebook evidence against Defendant Shy at trial.

                                   Respectfully submitted,
 Date: May 25, 2018
                                   By: s/Mark H. Magidson
                                   MARK H. MAGIDSON (P25581)
                                   Attorney for Defendant Shy (D-13)
                                   815 Griswold, Suite 810
                                   Detroit, MI 48226
                                   313-963-4311; 313-995-9146 fax
                                   mmag100@aol.com
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                            CERTIFICATE OF SERVICE
                                       !
       I herby certify that on May 25, 2018, I electronically filed the above Motion
 with the Clerk of the Court using the ECF system, which will send notification of
 such filing to the parties of record.
                                   By: s/Mark H. Magidson
                                   MARK H. MAGIDSON (P25581)
                                   Attorney for Defendant Shy (D-13)




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